                            Douglas S. Parker, Alaska Bar No. 8311168
                            dparker@littler.com
                            Renea I. Saade, Alaska Bar No. 0911060
                            rsaade@littler.com
                            LITTLER MENDELSON
                            500 L Street, Suite 201
                            Anchorage, AK 99501
                            Tel: 907.561.1214
                            Fax: 907.561.1215

                            Attorneys for Defendant Alaska Pacific University

                                                          UNITED STATES DISTRICT COURT
                                                               DISTRICT OF ALASKA

                            JOHN DOE,

                                            Plaintiff,

                                    v.

                            ALASKA PACIFIC UNIVERSITY, an
                            Alaska Nonprofit Corporation,
                                                                               Case No. 3:18-cv-00188-HRH
                                            Defendant.


                              JOINT MOTION FOR EXTENSION OF TIME TO FILE CASE CLOSING DOCUMENTS
Anchorage, Alaska 99501
 LITTLER MENDELSON




                                  The Plaintiff and Defendant hereby jointly move for a short extension of time to file case
 500 L Street, Suite 201


    Fax: 907.561.1215
    Tel: 907.561.1214




                           closing documents in this matter. The parties have been working in good faith to document their

                           agreement for the dismissal of this case, but need a short extension of time to finalize the

                           documentation. Therefore, the parties respectfully request a two (2) week extension of time from

                           February 1, 2019 [see Dkt. 21] to February 15, 2019 to file the closing documents in this case.

                                                                          Respectfully submitted,




                            Joint Motion for Extension of Time to File Case Closing Documents
                            John Doe v. Alaska Pacific University; 3:18-cv-188-HRH                                  Page 1 of 2
                                  Case 3:18-cv-00188-HRH Document 22 Filed 02/01/19 Page 1 of 2
                                 Dated this 1st day of February, 2019.

                                                                     LITTLER MENDELSON
                                                                     Attorneys for Defendant,
                                                                     Alaska Pacific University


                                                               By:    /s/ Renea I. Saade
                                                                     Renea I. Saade
                                                                     Alaska Bar 0911060
                                                                     Douglas S. Parker
                                                                     Alaska Bar 8311168

                                                                     STEVEN M. WELLS P.C.


                                                               By:     /s/ Steven M. Wells
                                                                     Steven M. Wells
                                                                     Alaska Bar 0010066




                           CERTIFICATE OF SERVICE:

                           I hereby certify that on the 1st day of
                           February, 2019, a true and correct copy
Anchorage, Alaska 99501




                           of the foregoing document was served on:
 LITTLER MENDELSON
 500 L Street, Suite 201


    Fax: 907.561.1215
    Tel: 907.561.1214




                           Steven M. Wells

                           By  Hand  Mail  Fax
                            Court’s ECF filing system

                           /s/ Nancy Murphy Kruse
                           Nancy Murphy Kruse
                           Legal Assistant


                           FIRMWIDE:162053731.2 099791.1001




                           Joint Motion for Extension of Time to File Case Closing Documents
                           John Doe v. Alaska Pacific University; 3:18-cv-188-HRH                Page 2 of 2
                                 Case 3:18-cv-00188-HRH Document 22 Filed 02/01/19 Page 2 of 2
